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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION


    IN RE: NATIONAL PRESCRIPTION                     MDL No. 2804
    OPIATE LITIGATION
                                                     Case No. 1:17-md-2804
    This document relates to:
                                                     JUDGE DAN AARON POLSTER
    All Cases Noted on Attached Exhibit


                 FIFTH MASTER STIPULATION AND [PROPOSED] ORDER
                        DISMISSING WITH PREJUDICE CLAIMS
                 PURSUANT TO NATIONAL SETTLEMENT AGREEMENTS

          IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned counsel

of record for the Plaintiff Subdivisions identified in Appendix A (collectively, the “Dismissing

Plaintiffs”)    and    Defendants    McKesson      Corporation,     Cardinal    Health,    Inc.,   and

AmerisourceBergen Corporation (collectively and together with their Released Entities, the

“Settling Distributor Defendants”1) that, pursuant to the election of each Dismissing Plaintiff to

participate in the Distributor Settlement Agreement, which was announced on July 21, 2021, which

is binding on the Dismissing Plaintiffs and the Settling Distributor Defendants, and which has an

Effective Date of April 2, 2022 (a copy of which is attached as Appendix B), all claims of each

Dismissing Plaintiff against any Settling Distributor Defendants, including any entity identified on

the attached Appendix C, are hereby voluntarily DISMISSED WITH PREJUDICE, with each



1
  The Released Entities are each and every entity of any of the Settling Distributor Defendants that
is a “Released Entity” as set forth in Section I.HHH and Exhibit J of the Distributor Settlement
Agreement, dated as of March 25, 2022, a copy of which is attached as Appendix B. Appendix C,
also attached hereto, represents a good faith effort by the Settling Distributor Defendants to list all
Released Entities that may be individually named in any of the Dismissing Plaintiffs’ complaints.
Appendix C is not intended to limit the scope of Released Entities, and to the extent that Dismissing
Plaintiffs or Settling Distributor Defendants subsequently identify any Released Entity that should
have been included on Appendix C, they will inform the Clerk of the Court.
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party to bear its own costs. The Court shall retain jurisdiction with respect to the Distributor

Settlement Agreement to the extent provided under that Agreement.

Dated May 17, 2022                          Respectfully submitted,

Agreed as to form and substance:
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                                            Plaintiffs’ Liaison Counsel




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MCKESSON DRUG COMPANY

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SO ORDERED this __ day of May, 2022.

________________________________
Hon. Dan Aaron Polster
United States District Judge




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                                CERTIFICATE OF SERVICE
       I hereby certify that on May 17, 2022, I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system. Copies will be served upon counsel of record by, and

may be obtained through, the Court CM/ECF system.


                                             /s/Peter H. Weinberger
                                             Peter H. Weinberger
